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IN THE UNITED STATES DISTRICT COURT L
FOR THE WESTERN DISTRICT OF TENNESSE§§ JUL _.15 ppg 2- 06

WESTERN DIVISION

 

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UNITED STATES OF AMERICA,
1 Plaintiff,
v. No. 05-20110-B/P
05-20111-B/V
05-201 lZ-B/P
RAFAT JAMAL MAWLAWI, 05-20113~B/An
05-20130-B/V
Defendant.

 

ORDER OF REFERENCE

 

Before the court are motions of the Defendant, Rafat Jamal Mawlawi, for Consideration
of Bond Due to Medical Conditions filed in the above five cases presently pending before the
court. Because only one hearing needs to be conducted in regard to all of Defendant’s motions,
these motions are referred to the Magistrate Judge Tu Pham for determination Any objections
to the magistrate judge’s order shall be made within ten (10) days after service of the order,
setting forth particularly those portions of the order objected to and the reasons for the
objections.

§1~\
IT IS SO ORDERED thisd _day of July, 2005.

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J. DANIEL BREEN
D STATES DISTRICT JUDGE

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w\th Rule 55 and/or 32(b) FRCrP on

 

 

 

Notice of Distribution

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Honorable J. Breen
US DISTRICT COURT

